                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                 5:05CR258-2

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                    ORDER
                                    )
ROBERT JAMES CRISP,                 )
                  Defendant.        )
___________________________________ )

       THIS MATTER is before the court on Defendant’s Motion to Secure Grand Jury Transcripts

(Document #260), filed January 4, 2010, Defendant’s Motion to Secure Sealed Documents for Use

in Appeal (Document #258), filed December 28, 2009, and Defendant’s Motion to Secure

Transcriptions of Hearings Before Magistrate Judge (Document #249), filed October 3, 2009.

       WHEREFORE, for the reasons stated therein, and for good cause shown, Defendant’s

above-referenced motions are hereby GRANTED.*

       SO ORDERED.



                                              Signed: January 4, 2010




       *
         The court notes that the relief requested in the Motion to Secure Transcriptions of
Hearings Before Magistrate Judge (Document #249) already may have been provided. If this is
so, then this order will simply serve to affirm the court’s assent to the current situation.


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